Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 1 of 23




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION


    HYDENTRA HLP INT. LIMITED,
    a foreign corporation d/b/a METART                                    Case No.
                                                                    1:15-cv-22463-MGC
         Plaintiff,

    v.

    MAXIMUM APPS INC., a foreign company
    d/b/a SEX.COM, CLOVER HOLDINGS
    LIMITED PARTNERSHIP, a foreign
    company, d/b/a SEX.COM; SEX.COM;
    FREDERIC VALIQUETTE, an individual,
    and; John Does 1-20,

         Defendants.


                           DECLARATION OF MATTHEW SHAYEFAR
                                       IN SUPPORT OF
                      OPPOSITION TO PLAINTIFF’S MOTION FOR SANCTIONS

            I, Matthew Shayefar, do declare and state as follows:

            1.        I am an attorney licensed to practice law in the Commonwealth of Massachusetts

   and the State of California. I am admitted pro hac vice in the above captioned matter as counsel

   for Defendants Maximum Apps Inc. and Mr. Frederic Valiquette (“Maximum Defendants”). I

   have personal knowledge of the facts stated herein. If called upon to do so, I could and would

   testify to the truth hereof.

            2.        On December 28, 2015, I had a telephone conversation with Attorney Spencer

   Freeman regarding the timing of discovery in the above captioned matter. During that

   conversation, Attorney Freeman stated that he was concerned about the existing discovery




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   schedule given that the Court has not yet ruled on the Maximum Defendants’ Motions to

   Dismiss.

           3.      I stated that, given the pendency of the Maximum Defendants’ Motions to

   Dismiss, and given that those motions challenged the court’s jurisdiction over the Maximum

   Defendants, I did not think that the Court would expect the parties to have engaged in discovery

   prior to receiving a ruling on the pending motions.

           4.      In response, Attorney Freeman stated that he “hoped” that I was correct, but that

   the Plaintiff might send out deposition notices as placeholders to protect their right to take

   depositions if for some reason the Court were to disagree with my understanding.

           5.      I told Attorney Freeman that the Maximum Defendants could not and would not

   agree to appear in Florida for depositions.

           6.      Attorney Freeman stated that he understood, but might send out notices anyway

   just in case.

           7.      Following my conversation with Attorney Freeman, I discussed Attorney

   Freeman’s stated concerns with my co-counsel and concluded that the best course of action –

   both for the parties and for the Court – would be for the parties to work together, cooperatively,

   to formalize an agreement that all discovery would be stayed pending the Court’s decision on the

   Motions to Dismiss. In furtherance of that goal, we decided to propose to Attorney Freeman that

   the parties agree to stay all discovery and present the Court with a joint motion seeking court

   approval of the parties’ plan.

           8.      On that same day, December 28, 2015, I called Attorney Freeman to discuss the

   proposal and, unable to reach him in person, left a voice mail to that effect.




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           9.      The next day, having not yet heard back from Attorney Freeman, I sent an email

   to Attorney Freeman proposing that the parties enter into a Joint Motion to Stay. A true and

   correct copy of that email and the correspondence between Attorney Freeman and I that followed

   after that is attached hereto as Exhibit 1.

           10.     Although I hoped that the drafting of the joint motion would only take a day or so,

   and I communicated this expectation to Attorney Freeman, because of the holidays and the desire

   of counsel for Defendant Clover Holdings Limited Partnership (“Clover”) to participate in the

   drafting, it took longer than originally anticipated to provide a draft motion to Plaintiff’s counsel.

           11.     Before the Defendants had the opportunity to provide Plaintiff with the draft

   motion, Plaintiff sent out deposition notices by email. True and correct copies of that email and

   the deposition notices that I received are attached hereto as Exhibit 2.

           12.     When I received these notices, I took them to be the “placeholders” mentioned by

   Attorney Freeman. I did not believe that the notices were intended to reflect the actual dates (or

   location) where the Maximum Defendants would be deposed and I assumed they were sent

   primarily because Plaintiffs were concerned given the amount of time it was taking us to

   circulate the draft Joint Motion to Stay.

           13.     Once the language of the Joint Motion to Stay had been agreed upon and the

   motion filed, I did not expect that the noticed depositions would occur, nor did I believe that

   Plaintiff thought that such depositions would occur as originally (and improperly) noticed.


           Signed under the pains and penalties of perjury, this 17th day of February, 2016.



                                                          ____________________________
                                                          Matthew Shayefar, Esq.



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                                Exhibit
                                  1
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                                Exhibit
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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 10 of 23
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                                      U N I T E D S TAT E S D I S T R I C T C O U R T
                                     SOUTHERN DISTRICT OF FLORIDA


                                                         MIAMI            DIVISION


                                            CASE NO.: l:15-cv-22463-MGC



    HYDENTRA HLP INT. LIMITED, a
    foreign corporation d/b/a MET ART,

            Plaintiff,

    v s .



    MAXIMUM APPS INC., a foreign
    company d^/a SEX.COM; CLOVER
    HOLDINGS LIMITED PARTNERSHIP,
    a foreign company d/b/a SEX.COM;
    SEX.COM; FREDERIC VALIQUETTE,
    an individual; and John Does 1-20,

            Defendants.



                                      N O T I C E O F TA K I N G D E P O S I T I O N
                         O F C O R P O R AT E R E P R E S E N TAT I V E D U C E S T E C U M
                                          P U R S U A N T T O F. R . C . P. 3 0 f b V 6 )



            PLEASE TAKE NOTICE that the undersigned will take the video deposition of:

            DEPONENT: Corporate Representative of:
                                         Max Apps Inc. to be deposed on the issues
                                          contained within the attached Exhibit "A".


            D AT E : T h u r s d a y, J a n u a r y 2 8 , 2 0 1 6

            TIME:                      9:00am


            P L A C E : B r y n & A s s o c i a t e s , P. A .
                                          One Biscayne Tower, 2 South Biscayne Blvd., #2680
                                          Miami, Florida 33131




                           BeharBehar • 1840 North Commerce Parkway • Suite One ♦ Weston, Rorida 33326
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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 12 of 23




           Upon oral examination before UNIVERSAL COURT REPORTING, or any other
    Notary Public or officer authorized by law to take depositions in the State of Florida. The oral
    examination will continue from day to day imtil completed.

           The deposition is being taken for the purpose of discovery, for use at trial, or for such
    other purposes as are permitted under the Rules of Court, Rules 1.280,1.310,1.350, 1.360,1.380
    and 1.410.




                                          C E R T I F I C AT E O F S E R V I C E


         I HEREBY CERTIFY that on this 8th day of January, 2016 we electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

    electronic filing to the following: John F. 0'Sullivan, Esq., Allen P. Pegg, Esq. and Jason D.

    Sternberg, Esq., Counsel for Clover Holdings Limited Partnership', Brady J. Cobb, Esq., Counsel

    for Maximum Apps Inc. d/b/a Sex.Com and Frederic Valiquette\ and also to: Evan Fray-Witzer,

    Esq. Valentin Gurvits, Esq.; and Matthew Shayefar, Esq.




                                                                                  Respectfully submitted,

                                                                                  BeharBehar
                                                                                  1840 North Commerce Parkway
                                                                                  Suite One
                                                                                  Weston, Florida 33326
                                                                                  Telephone: (954) 688-7642
                                                                                  Facsimile: (954) 332-9260
                                                                                  E - m a i l : A B @ B e h a r B e h a r. c o m


                                                                                  /s/Aaron Behar. Esq.
                                                                                  Aaron Behar, Esq.
                                                                                  Florida Bar No.: 166286
                                                                                  /s/Jaclyn Behar. Esq.
                                                                                  Jaclyn Behar, Esq.
                                                                                  Florida Bar No.: 63833
                                                                                  Counsel for Plaintiff



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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 13 of 23




                                                              And: /s/Svencer D. Freeman, Esq.
                                                                            Spencer D. Freeman, Esq.
                                                                           Freeman Law Firm, Inc.
                                                                            1107 Vz Tacoma Avenue South
                                                                           Tacoma, WA 98402
                                                                            Telephone: (253) 383-4500
                                                                            Facsimile: (253) 383-4501
                                                                            E-mail: sfreeman@freemanlawfirm.org
                                                                            Counsel forPlaintiff (Pro Hac Vice)




                   B«harBehar * 1840 North Commerce Parkway * Suite One * Westotf, Florida 33326
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                                                        EXHBIIT «A''




       1. Pertaining to videos and photographs (including still photographs) uploaded on
             Sex.Com the specific mformation collected from the uploader and the manner,
             location, and parameters that the information is stored and maintained.

       2. Pertaining to videos and photographs (including still photographs) uploaded on
              Sex.Com the entire process that a potential uploader must go through in order to
              upload a video on the web site(s).

       3. Pertaining to videos and photographs (including still photographs) uploaded on
              Sex.Com all software used to complete the process of receiving the upload through
              public display on the web sites.

       4. Pertaining to videos and photographs (including still photographs) uploaded on
              Sex.Com the process for a video and/or photograph (including still photographs) to be
              reviewed by Max Apps Inc., or any agent therefore, before being displayed on the
              web site(s).

       5. Pertaining to videos and photographs (including still photographs) uploaded on
              Sex.Com all software used to keep track of videos and/or photographs (including still
              photographs) posted by each user, the full functionality of the software, who authored
              the software, when the software was first utilized by Max Apps, Inc. on the web site.

       6. All persons and processes involved in implementing repeat infringer policy, including
              but not limited to who reviews take down notices to determine whether discipline
              necessary, who determines discipline, who implements discipline, the procedure for
              implementing discipline, and if the discipline is implemented electronically the
              software used to implement the discipline and all data associated with the
              implementation of the discipline.

       7. Identification of independent contractors used by Max Apps, Inc. for any tasks on
              Sex.Com.


       8. Identification of programmers utilized by Max Apps, Inc. for any aspect of Sex.Com.

       9. All persons and processes involved in receipt of take down notices and responding to
              take down notices.




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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 15 of 23



       10, Identification of all owners and/or shareholders of Max Apps, Inc. both current and
             fi-om inception of the company, including names, roles, and current contact
             information.




       11. Identification of all debt incurred by Max Apps, Inc., both current and from the
             inception of the company, including to whom the debt is owed, for what the debt was
              incurred, and the terms of the debt.

       12. Identification of advertisers for Sex.com, including the contractual obligations of Max
              Apps, Inc. and the advertisers.

       13. All allegations in Plaintiff s Complaint.

       14. All defenses raised in response to Plaintiffs Complaint.

       15. The factual basis for the parts of Plaintiff's Complaint that Max Apps, Inc. denies.

       16. The factual basis for each affirmative defense that Max Apps, Inc. intends to/has
             assert(ed).




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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 16 of 23



                                     U N I T E D S TAT E S D I S T R I C T C O U R T
                                     SOUTHERN DISTRICT OF FLORIDA


                                                         MIAMI DIVISION


                                           CASE NO.: 1; 15-cv-22463-MGC



    HYDENTRA HLP INT. LIMITED, a
    foreign corporation d/b/a METART,

           Plaintiff,



    MAXIMUM APPS INC., a foreign
    company d/b/a SEX.COM; CLOVER
    HOLDINGS LIMITED PARTNERSHIP,
    a foreign company d/b/a SEX.COM;
    SEX.COM; FREDERIC VALIQUETTE,
    an individual; and John Does 1-20,

           Defendants.




                                     N O T I C E O F TA K I N G D E P O S I T I O N
                        O F C O R P O R AT E R E P R E S E N TAT I V E D U C E S T E C U M
                                         P U R S U A N T T O F. R . C . P. 3 0 ( b ) ( 6 )



           PLEASE TAKE NOTICE that the undersigned will take the video deposition of;

           D E P O N E N T:              Corporate Representative of:
                                         Clover Holdings Limited Partnership to be deposed on the
                                         issues contained within the attached Exhibit


           DATE:                         Friday, January 29,2016

           T I M E :                     9:00ani


           PLACE:                        Bryn & Associates, P.A.
                                         One Biscayne Tower, 2 South Biscayne Blvd., #2680
                                         Miami, Florida 33131




                         BeharBehar ♦ 1840 North Commerce Parkway ♦ Suite One ♦ Weston. Florida 33326
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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 17 of 23




           Upon oral examination before UNIVERSAL COURT REPORTING, or any other
    Notary Public or officer authorized by law to take depositions in the State of Florida. The oral
    examination will continue firom day to day until completed.

           The deposition is being taken for the purpose of discovery, for use at trial, or for such
    other purposes as are permitted under the Rules of Court, Rules 1.280,1.310,1.350, 1.360, 1.380
    and 1.410.



                                          C E R T I F I C AT E O F S E R V I C E


          I HEREBY CERTIFY that on this 8th day of January, 2016 we electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

    electronic filing to the following: John F. O'Sullivan, Esq., Allen P. Pegg, Esq. and Jason D.

    Sternberg, Esq., Counsel for Clover Holdings Limited Partnership-, Brady J. Cobb, Esq., Counsel

    for Maximum Apps Inc. d/b/a Sex.Com and Frederic Valiquette; and also to: Evan Fray-Witzer,

    Esq. Valentin Gurvits, Esq.; and Matthew Shayefar, Esq.




                                                                                  Respectfully submitted,

                                                                                  BeharBehar
                                                                                  1840 North Commerce Parkway
                                                                                  Suite One
                                                                                  Weston, Florida 33326
                                                                                  Telephone: (954) 688-7642
                                                                                  Facsimile: (954) 332-9260
                                                                                  E - m a i l : A B @ B e h a r B e h a r. c o m


                                                                                  /s/Aaron Behar, Esq.
                                                                                  Aaron Behar, Esq.
                                                                                  Florida Bar No.: 166286
                                                                                  /s/Jaclvn Behar, Esq.
                                                                                  Jaclyn Behar, Esq.
                                                                                  Florida Bar No,: 63833
                                                                                  Counsel for Plaintiff


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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 18 of 23




                                                               And: /s/Spencer D. Freeman, Esq.
                                                                       Spencer D. Freeman, Esq.
                                                                              Freeman Law Firm, Inc.
                                                                              1107 Vi Tacoma Avenue South
                                                                              Tacoma, WA 98402
                                                                              Telephone: (253) 383-4500
                                                                              Facsimile: (253) 383-4501
                                                                              E-mail: sfreeman@freemanlawfirm.org
                                                                              Counsel forPlaintiff (Pro Hac Vice)




                   BeharBehar ♦ 1840 North Commerce Parkway ♦ Suite One ♦ Weston, Florida 33326
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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 19 of 23




                                                      EXHBIIT                     "A"




      1. Pertaining to videos and photographs (including still photographs) uploaded on
            Sex.Com the specific information collected from the uploader and the manner,
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             Sex.Com the entire process that a potential uploader must go through in order to
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      3. Pertaining to videos and photographs (including still photographs) uploaded on
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      6. All persons and processes involved in implementing repeat infiinger policy, including
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             implementing discipline, and if the discipline is implemented electronically the
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             implementation of the discipline.

      7. Identification of independent contractors used by Clover Holdings Limited Partnership
             for any tasks on Sex.Com.

      8. Identification of programmers utilized by Clover Holdings Limited Partnership for any
             aspect of Sex.Com.

      9. All persons and processes involved in receipt of take dovm notices and responding to
             take down notices.




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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 20 of 23



      10. Identification of all owners and/or shareholders of Clover Holdings Limited
            Partnership both current and fi-om inception of the company, including names, roles,
            and current contact information.




      11. Identification of all debt incurred by Clover Holdings Limited Partnership both current
             and from the inception of the company, including to whom the debt is owed, for what
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      12. Identification of advertisers for Sex.Com, including the contractual obligations of
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      13. All allegations in Plaintiffs Complaint.

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      15. The factual basis for the parts of Plaintiffs Complaint that Clover Holdings Limited
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      16. The factual basis for each affirmative defense that Clover Holdings Limited
            Partnership intends to/has assert(ed).




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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 21 of 23



                                     U N I T E D S TAT E S D I S T R I C T C O U R T
                                    SOUTHERN DISTRICT OF FLORIDA


                                                       MIAMI           DIVISION


                                          CASE NO.: l:15-cv-22463-MGC




    HYDENTRA HLP INT. LIMITED, a
    foreign corporation d/b/a METART,

           Plaintiff,




    MAXIMUM APPS INC., a foreign
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    HOLDINGS LIMITED PARTNERSHIP,
    a foreign company d/b/a SEX.COM;
    SEX.COM; FREDERIC VALIQUETTE,
    an individual; and John Does 1-20,

           Defendants.



                N O T I C E O F TA K I N G D E P O S I T I O N - F R E D E R I C VA L I Q U E T T E



           PLEASE TAKE NOTICE that the undersigned will take the video deposition of:

           D E P O N E N T:            Frederic Valiquette

           D AT E :                    Thursday, January 28,2016

           T I M E :                   2:00pm

           PLACE:                       Bryn & Associates, P.A.
                                        One Biscayne Tower, 2 South Biscayne Blvd., #2680
                                        Miami, Florida 33131




                        BeharBehar ♦ 1840 North Commerce Parkway • Suite One ♦ Weston, Florida 33326
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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 22 of 23




           Upon oral examination before UNIVERSAL COURT REPORTING, or any other
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    and 1.410.




                                          C E R T I F I C AT E O F S E R V I C E


          I HEREBY CERTIFY that on this 7th day of January, 2016 we electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

    electronic filing to the following: John F. 0'Sullivan, Esq., Allen P. Pegg, Esq. and Jason D.

    Sternberg, Esq., Counsel for Clover Holdings Limited Partnership; Brady J. Cobb, Esq., Counsel

   for Maximum Apps Inc. d/b/a Sex.Com and Frederic Valiquette; and also to: Evan Fray-Witzer,

    Esq. Valentin Gurvits, Esq.; and Matthew Shayefar, Esq.



                                                                                  Respectfully submitted,

                                                                                  BeharBehar
                                                                                  1840 North Commerce Parkway
                                                                                  Suite One
                                                                                  Weston, Florida 33326
                                                                                  Telephone: (954) 688-7642
                                                                                  Facsimile: (954) 332-9260
                                                                                  E - m a i l : A B ( ® B e h a r B e h a r. c o n i


                                                                                  /s/Aaron Behar, Esq.
                                                                                  Aaron Behar, Esq.
                                                                                  Florida Bar No.: 166286
                                                                                  /s/Jaclvn Behar. Esq.
                                                                                  Jaclyn Behar, Esq.
                                                                                  Florida Bar No.: 63833
                                                                                  Counsel for Plaintiff



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Case 1:15-cv-22463-MGC Document 72-5 Entered on FLSD Docket 02/17/2016 Page 23 of 23




                                                               And: /s/Spencer D. Freeman, Esq.
                                                                             Spencer D. Freeman, Esq.
                                                                             Freeman Law Firm, Inc.
                                                                              1107 V2 Tacoma Avenue South
                                                                             Tacoma, WA 98402
                                                                             Telephone: (253) 383-4500
                                                                             Facsimile: (253) 383-4501
                                                                             E-mail: sfreeman@freemanlawfirm.org
                                                                             Counsel forPlaintiff (Pro Hac Vice)




                   BeharBehar ♦ 1840 North Commerce Parkway ♦ Suite Orte ♦ Weston, Florida 33326
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